         Case 5:16-cv-00749-OLG Document 64 Filed 01/04/19 Page 1 of 1


                     UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

JAMES MASTERSON                                 §
                                                §
vs.                                             §      No.: SA:16-CV-00749-OLG
                                                §
TUCKER ENERGY SERVICES, INC.                    §

                            ORDER FOR DISMISSAL PAPERS

        On Thursday, January 3, 2019 counsel for defendant advised the Court that this case
settled. The parties have not filed the closing paperwork in this case. Accordingly, it is hereby
ORDERED that:

       1) The parties shall submit a stipulation of dismissal or agreed judgment and any
       appropriate supporting documents on or before Thursday, January 31, 2019. If the
       parties are unable to submit those documents by that date, Plaintiff should move for an
       extension of time to file the documents. Failure to so move shall result in a dismissal of
       this case from the Court's docket for failure to diligently prosecute.

       2) All pretrial deadlines in this case are hereby STAYED pending the submission of the
       parties' stipulation of dismissal or agreed judgment, and any appropriate supporting
       documents. These deadlines will be reinstated if the parties are unable to finalize their
       settlement of this case.

       3) Any motions pending in this action are DENIED, subject to reurging should
       settlement fail.

       4) The pretrial conference and trial settings are cancelled.

       No extensions of the above deadline shall be granted except upon a showing of good
       cause.

       It is so ORDERED.

       SIGNED this 4th day of January, 2019.


                                                 ______________________________
                                                 ORLANDO L. GARCIA
                                                 CHIEF U.S. DISTRICT JUDGE
